                                Case 23-11161-JKS                 Doc 638   Filed 12/21/23         Page 1 of 9




                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

            In re:
                                                                             Chapter 11
                                                              1
            Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On December 12, 2023, at my direction and under my supervision, employees of Stretto
           caused the following documents to be served via electronic mail on the service list attached hereto
           as Exhibit A:

                     Debtors’ Memorandum of Law (I) in Support of (A) Approval of the Disclosure
                      Statement on a Final Basis, and (B) Confirmation of the Debtors’ Amended Joint
                      Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
                      Affiliated Debtors, and (II) in Response to Remaining Objections to Confirmation
                      (Docket No. 557)

                     Declaration of Michael Wyse in Support of (I) Approval of the Disclosure Statement
                      on a Final Basis and (II) Confirmation of the Amended Joint Chapter 11 Plan of
                      Reorganization for Prime Core Technologies Inc. and Its Affiliated Debtors
                      (Docket No. 558)

                     Declaration of William Murphy in Support of Confirmation of the Amended Joint
                      Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. And Its
                      Affiliated Debtors (Docket No. 559)




                                            [THIS SPACE INTENTIONALLY LEFT BLANK]




           ______________________________________________
           1
             The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                    Page 1 of 9
                            Case 23-11161-JKS       Doc 638     Filed 12/21/23     Page 2 of 9




                   Furthermore, on December 13, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via first-class mail on the service list
           attached hereto as Exhibit B:

                   Debtors’ Memorandum of Law (I) in Support of (A) Approval of the Disclosure
                    Statement on a Final Basis, and (B) Confirmation of the Debtors’ Amended Joint
                    Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
                    Affiliated Debtors, and (II) in Response to Remaining Objections to Confirmation
                    (Docket No. 557)

                   Declaration of Michael Wyse in Support of (I) Approval of the Disclosure Statement
                    on a Final Basis and (II) Confirmation of the Amended Joint Chapter 11 Plan of
                    Reorganization for Prime Core Technologies Inc. and Its Affiliated Debtors
                    (Docket No. 558)

                   Declaration of William Murphy in Support of Confirmation of the Amended Joint
                    Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. And Its
                    Affiliated Debtors (Docket No. 559)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: December 21, 2023                                       _____________________________
                                                                                 Andrew K. Fitzpatrick
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 21st day of December 2023 by Andrew K. Fitzpatrick.

           ___________________________
              (Notary’s official signature)




Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                              Page 2 of 9
                            Case 23-11161-JKS   Doc 638   Filed 12/21/23   Page 3 of 9




                                                Exhibit A




Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                    Page 3 of 9
                                                        Case 23-11161-JKS       Doc 638        Filed 12/21/23      Page 4 of 9

                                                                                    Exhibit A
                                                                              Served via Electronic Mail

                               Name                                              Attention 1                          Attention 2                          Email
450 Investments LLC                                             Attn: Zachary Bodmer                                                     operations@steadfast.com
Allegheny Casualty Company                                                                                                               dave.smith@allghenycasualty.com
                                                                                                             Attn: John W. Weiss,        jweiss@pashmanstein.com
Allegheny Casualty Company                                      c/o Pashman Stein Walder Hayden, P.C.        William R. Firth, III       wfirth@pashmanstein.com
Allsectech, Inc.                                                Attn: Aviral Dhirendra                                                   aviral198828@gmail.com
AnchorCoin LLC                                                  c/o James Danz                                                           evelyn.meltzer@troutman.com
                                                                                                             Attn: David M. Fournier &   david.fournier@troutman.com
AnchorCoin LLC                                                  c/o Troutman Pepper Hamilton Sanders LLP     Evelyn J. Meltzer           evelyn.meltzer@troutman.com
AnchorCoin LLC                                                  c/oTroutman Pepper                           Attn: Evelyn Meltzer        evelyn.meltzer@troutman.com
AnchorCoin, LLC                                                 Attn: James Danz, Manager                                                j@anchorusd.com
Austin Ward                                                                                                                              austindward@proton.me
Bittrex, Inc.                                                   Attn: David Maria, General Counsel                                       patriciatomasco@quinnemanuel.com
                                                                c/o Razmig Izakelian Quinn Emanuel
Bittrex, Inc.                                                   Urquhart & Sullivan LLP                      Attn: Razmig Izakelian      razmigizakelian@quinnemanuel.com
                                                                                                             Attn: Ismail Amin &         iamin@talglaw.com
                                                                                                             Marian L. Massey &          mvesterdahl@talglaw.com
                                                                                                             Matthew S. Vesterdahl &     mmassey@talglaw.com
                                                                                                             Nathaniel T. Collins &      ncollins@talglaw.com
Coinbits Inc.                                                   c/o TALG, NV, Ltd.                           Jaklin Guyumjyan            jguyumjyan@talglaw.com
Coinbits, Inc.                                                  c/o Meyers, Roman, Friedberg & Lewis LPA     Attn: David M Newumann      dneumann@meyersroman.com
Coinbits, Inc.                                                                                                                           dneumann@meyersroman.com
                                                                                                             Attn: Susheel Kirpalani &   susheelkirpalani@quinnemanuel.com
                                                                                                             Patricia B. Tomasco &       pattytomasco@quinnemanuel.com
                                                                                                             Daniel Holzman &            danielholzman@quinnemanuel.com
                                                                                                             Alain Jaquet &              alainjaquet@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta                                                        Razmig Izakelian &          razmigizakelian@quinnemanuel.com
Holdings Ltd., and Bittrex Malta Ltd.                           c/o Quinn Emanuel Urquhart & Sullivan, LLP   Joanna Caytas               joannacaytas@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta                                                        Attn: Robert S. Brady &     rbrady@ycst.com
Holdings Ltd., and Bittrex Malta Ltd.                           c/o Young Conaway Stargatt & Taylor, LLP     Kenneth J. Enos             kenos@ycst.com
DMG Blockchain Solutions, Inc.                                  Attn: Steven Eliscu                                                      steve@dmgblockchain.com
                                                                                                             Attn: Alan J. Kornfeld &    akornfeld@pszjlaw.com
                                                                                                             Jason H. Rosell &           jrosell@pszjlaw.com
George Georgiades, Kevin Lehtiniitty, and Scott Purcell         c/o Pachulski Stang Ziehl & Jones LLP        James E. O’Neill            joneill@pszjlaw.com
Kado Software, Inc                                              Attn: Emery Andrew                                                       emery@kado.money
Kado Software, Inc.                                             c/o Gellert Scali Busenkell & Brown, LLC     Attn: Michael Van Gorder    mvangorder@gsbblaw.com
Kado Software, Inc.                                             c/o Raines Feldman Littrell LLP              Attn: David S. Forsh        dforsh@raineslaw.com
Kado Software, Inc. d/b/a Kado Money                            c/o Raines Feldman Littrell LLP              Attn: David Forsh           dforsh@raineslaw.com
Net Cents Technology, Inc.                                      Attn: Clayton Moore                                                      claytonmoore@net-cents.com
Office of the Attorney General for the District of Columbia                                                                              oag@dc.gov
Office of the Attorney General for the State of Alabama                                                                                  consumerinterest@Alabamaag.gov
Office of the Attorney General for the State of Alaska                                                                                   attorney.general@alaska.gov
Office of the Attorney General for the State of Arizona                                                                                  BCEIntake@azag.gov
Office of the Attorney General for the State of California                                                                               xavier.becerra@doj.ca.gov
Office of the Attorney General for the State of Colorado                                                                                 DOR_TAC_Bankruptcy@state.co.us
Office of the Attorney General for the State of Connecticut                                                                              attorney.general@ct.gov
In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                              Page 1 of 3

Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                                               Page 4 of 9
                                                   Case 23-11161-JKS            Doc 638        Filed 12/21/23     Page 5 of 9

                                                                                     Exhibit A
                                                                              Served via Electronic Mail

                              Name                                               Attention 1                          Attention 2                           Email
Office of the Attorney General for the State of Hawaii                                                                                    hawaiiag@hawaii.gov
Office of the Attorney General for the State of Illinois                                                                                  michelle@lisamadigan.org
Office of the Attorney General for the State of Iowa                                                                                      consumer@ag.iowa.gov
Office of the Attorney General for the State of Kentucky                                                                                  KyOAGOR@ky.gov
Office of the Attorney General for the State of Louisiana                                                                                 ConstituentServices@ag.louisiana.gov
Office of the Attorney General for the State of Maryland                                                                                  oag@oag.state.md.us
Office of the Attorney General for the State of Massachusetts                                                                             ago@state.ma.us
Office of the Attorney General for the State of Michigan                                                                                  miag@michigan.gov
Office of the Attorney General for the State of Missouri                                                                                  consumer.help@ago.mo.gov
Office of the Attorney General for the State of New Hampshire                                                                             attorneygeneral@doj.nh.gov
Office of the Attorney General for the State of North Dakota                                                                              ndag@nd.gov
Office of the Attorney General for the State of Oklahoma                                                                                  questions@oag.ok.gov
Office of the Attorney General for the State of Utah                                                                                      bankruptcy@agutah.gov
Office of the Attorney General for the State of Vermont                                                                                   ago.info@vermont.gov
Office of the Attorney General for the State of West Virginia                                                                             consumer@wvago.gov
                                                                                                            Attn: Robert J. Stark &       rstark@brownrudnick.com
                                                                                                            Bennett S. Silverberg &       bsilverberg@brownrudnick.com
                                                                                                            Kenneth J. Aulet &            kaulet@brownrudnick.com
Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP                       Jennifer M. Schein            jschein@brownrudnick.com
                                                                                                            Attn: Tristan G. Axelrod &    taxelrod@brownrudnick.com
Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP                       Matthew A. Sawyer             msawyer@brownrudnick.com
                                                                                                            Attn: Donald J. Detweiler &   don.detweiler@wbd-us.com
Official Committee of Unsecured Creditors                       c/o Womble Bond Dickinson (US) LLP          Elazar A. Kosman              elazar.kosman@wbd-us.com
OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP                        Attn: Sommer L. Ross          slross@duanemorris.com
Oracle America, Inc.                                            c/o Buchalter, A Professional Corporation   Attn: Shawn M. Christianson   schristianson@buchalter.com
Philadelphia Indemnity Insurance Company                        Attn: Kimberly B. Czap, Vice President                                    swilliams@manierherod.com
Philadelphia Indemnity Insurance Company                        Attn: Scott Williams                                                      swilliams@manierherod.com
                                                                c/o McElroy, Deutsch, Mulvaney &
Philadelphia Indemnity Insurance Company                        Carpenter, LLP                              Attn: Gary D. Bressler        gbressler@mdmc-law.com
Polaris Ventures                                                Attn: Ruairi Donnelly                                                     ruairi.donnelly@polaris-ventures.org
                                                                c/o Mintz, Levin, Cohn, Ferris, Glovsky
Polaris Ventures                                                and Popeo, P.C.                             Attn: Abigail O’Brient        aobrient@mintz.com
                                                                c/o Mintz, Levin, Cohn, Ferris, Glovsky
Polaris Ventures                                                and Popeo, P.C.                             Attn: Joseph R. Dunn          jrdunn@mintz.com
                                                                c/o Young Conaway Stargatt & Taylor,        Attn: Michael R. Nestor &     mnestor@ycst.com
Polaris Ventures                                                LLP                                         Ryan M. Bartley               rbartley@ycst.com
SALESFORCE, INC.                                                C/O BIALSON, BERGEN & SCHWAB                                              GHECK@BBSLAW.COM
Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                                nyrobankruptcy@sec.gov
Stably Corporation                                              Attn: Ivan Inchauste                                                      ivan@stably.io
                                                                                                                                          JWilliamson@gravislaw.com
Stably Corporation                                              c/o Gravis Law, PLLC                        Attn: Jill Williamson         MPyfrom@gravislaw.com
                                                                                                                                          JOLeary@gravislaw.com
                                                                                                                                          DCannon@gravislaw.com
                                                                                                                                          MHess@gravislaw.com
Stably Corporation                                              c/o Gravis Law, PLLC                        Attn: John W. O'Leary         CBlanco@gravislaw.com
In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                  Page 2 of 3

Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                                                    Page 5 of 9
                                                     Case 23-11161-JKS        Doc 638           Filed 12/21/23    Page 6 of 9

                                                                                     Exhibit A
                                                                            Served via Electronic Mail

                               Name                                               Attention 1                         Attention 2                           Email
Thomas Pageler                                               c/o Clark Hill PLC                             Attn: Karen M. Grivner       kgrivner@clarkhill.com
                                                                                                            Attn: Tobias S. Keller &     tkeller@kbkllp.com
Tiki Labs, Inc. dba Audius Inc.                              c/o Keller Benvenutti Kim LLP                  Traci L. Shafroth            tshafroth@kbkllp.com
Tiki Labs, Inc. dba Audius Inc.                              c/o Pashman Stein Walder Hayden PC             Attn: John W. Weiss          jweiss@pashmanstein.com
Tiki Labs, Inc. dba Audius Inc. (custodial account owner)
- see attachment                                                                                                                         roneil@audius.co
TrueCoin, LLC                                                                                                                            alex.delorraine@trusttoken.com
TrueCoin, LLC and TrustToken, Inc.                           c/o Ashby & Geddes, PA                         Attn: Gregory A. Taylor      gtaylor@ashbygeddes.com
                                                                                                            Attn: Fletcher W. Strong &   fstrong@wmd-law.com
                                                                                                            Steven S. Fitzgerald &       sfitzgerald@wmd-law.com
TrueCoin, LLC and TrustToken, Inc.                           c/o Wollmuth Maher & Deutsch LLP               Yating Wang                  ywang@wmd-law.com
TrustToken, Inc.                                                                                                                         alex.delorraine@trusttoken.com
US Attorney’s Office for the District of Delaware                                                                                        USADE.ECFBANKRUPTCY@usdoj.gov
Yousef Abbasi                                                                                                                            Yousef.a.abbasi@gmail.com




In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                             Page 3 of 3

Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                                               Page 6 of 9
                            Case 23-11161-JKS   Doc 638   Filed 12/21/23   Page 7 of 9




                                                Exhibit B




Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                    Page 7 of 9
                                                                   Case 23-11161-JKS                Doc 638           Filed 12/21/23         Page 8 of 9
                                                                                                           Exhibit B
                                                                                                    Served via First-Class Mail


                                Name                                             Attention                          Address 1                              Address 2                  City        State     Zip      Country
 450 Investments LLC                                              Attn: Zachary Bodmer              450 Park Avenue                          20th Floor                          New York         NY    10022
 Allegheny Casualty Company                                                                         One Newark Center, 20th Floor                                                Newark           NJ    7924
                                                                  Troutman Pepper c/o Evelyn
 AnchorCoin LLC                                                   Meltzer                           1313 N. Market Street, Suite 5100                                            Wilmington    DE       19801
 AnchorCoin LLC                                                                                     AnchorCoin LLC c/o James Danz            530 Showers Dr, Ste 7349            Mountain View CA       94040
 AnchorCoin, LLC                                                  Attn: James Danz, Manager         530 Showers Drive                        Suite 7349                          Mountain View CA       94040
                                                                  Attn: David Maria, General
 Bittrex, Inc.                                                    Counsel                           701 5th Avenue, Suite 4200                                                   Seattle          CA    98104
                                                                  c/o Razmig Izakelian Quinn
 Bittrex, Inc.                                                    Emanuel Urquhart & Sullivan LLP   Attn: Razmig Izakelian                   865 S. Figueroa Street 10th Floor   Los Angeles      CA    90017
                                                                                                    Attn: Ismail Amin & Marian L. Massey
                                                                                                    & Matthew S. Vesterdahl & Nathaniel
 Coinbits Inc.                                                    c/o TALG, NV, Ltd.                T. Collins & Jaklin Guyumjyan            5852 S. Durango Dr., Suite 105      Las Vegas        NV    89113
 Coinbits, Inc.                                                                                     28601 Chagrin Blvd.                      Suite 600                           Cleveland        OH    44122
 Internal Revenue Service                                                                           PO Box 7346                                                                  Philadelphia     PA    19101-7346
 Kado Software, Inc                                               Attn: Emery Andrew                100 Summer St. Suite 1600                                                    Boston           MA    02110
 Kado Software, Inc. d/b/a Kado Money                             c/o Raines Feldman Littrell LLP   Attn: David Forsh                        1540 Avenue of the Americas FL22    New York         NY    10019
 Office of the Attorney General for the District of Columbia                                        441 4Th St Nw, Ste 1100S                                                     Washington       DC    20001
 Office of the Attorney General for the District of Puerto Rico                                     350 Carlos Chardón Street                Torre Chardón, Suite 1201           San Juan         PR    00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                                            501 Washington Ave                                                           Montgomery       AL    36104
 Office of the Attorney General for the State of Alaska                                             1031 W 4th Ave, Ste 200                                                      Anchorage        AK    99501
 Office of the Attorney General for the State of Arizona                                            2005 N Central Ave                                                           Phoenix          AZ    85004
 Office of the Attorney General for the State of Arkansas                                           323 Center St, Ste 200                                                       Little Rock      AR    72201
 Office of the Attorney General for the State of California                                         PO Box 944255                                                                Sacramento       CA    94244-2550
 Office of the Attorney General for the State of Colorado                                           Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl              Denver           CO    80203
 Office of the Attorney General for the State of Connecticut                                        165 Capitol Ave                                                              Hartford         CT    06106
 Office of the Attorney General for the State of Florida                                            The Capitol Pl-01                                                            Tallahassee      FL    32399
 Office of the Attorney General for the State of Georgia                                            40 Capitol Sq Sw                                                             Atlanta          GA    30334
 Office of the Attorney General for the State of Hawaii                                             425 Queen Street                                                             Honolulu         HI    96813
 Office of the Attorney General for the State of Idaho                                              700 W. Jefferson St, Suite 210                                               Boise            ID    83720
 Office of the Attorney General for the State of Illinois                                           James R. Thompson Center                 100 W. Randolph St                  Chicago          IL    62706
 Office of the Attorney General for the State of Indiana                                            Indiana Government Center South          302 W Washington St 5Th Fl          Indianapolis     IN    46204
 Office of the Attorney General for the State of Iowa                                               Hoover State Office Building             1305 E. Walnut Street Rm 109        Des Moines       IA    50319
 Office of the Attorney General for the State of Kansas                                             120 SW 10Th Ave, 2nd Fl                                                      Topeka           KS    66612
 Office of the Attorney General for the State of Kentucky                                           Capitol Building                         700 Capitol Ave Ste 118             Frankfort        KY    40601
 Office of the Attorney General for the State of Louisiana                                          1885 N. Third St                                                             Baton Rouge      LA    70802
 Office of the Attorney General for the State of Maine                                              6 State House Station                                                        Augusta          ME    04333
 Office of the Attorney General for the State of Maryland                                           200 St. Paul Pl                                                              Baltimore        MD    21202
 Office of the Attorney General for the State of Massachusetts                                      1 Ashburton Place, 20Th Floor                                                Boston           MA    02108
 Office of the Attorney General for the State of Michigan                                           G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                     Lansing          MI    48909
 Office of the Attorney General for the State of Minnesota                                          445 Minnesota St, Ste 1400                                                   St. Paul         MN    55101
 Office of the Attorney General for the State of Mississippi                                        Walter Sillers Building                  550 High St Ste 1200                Jackson          MS    39201
 Office of the Attorney General for the State of Missouri                                           Supreme Court Building                   207 W High St                       Jefferson City   MO    65101
 Office of the Attorney General for the State of Montana                                            215 N. Sanders                           Justice Building, Third Fl          Helena           MT    59601
 Office of the Attorney General for the State of Nebraska                                           2115 State Capitol                                                           Lincoln          NE    68509
 Office of the Attorney General for the State of Nevada                                             Old Supreme Court Building               100 N Carson St                     Carson City      NV    89701
 Office of the Attorney General for the State of New Hampshire                                      Nh Department Of Justice                 33 Capitol St.                      Concord          NH    03301
 Office of the Attorney General for the State of New Jersey                                         Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing      Trenton          NJ    08611
 Office of the Attorney General for the State of New Mexico                                         408 Galisteo Street                      Villagra Building                   Santa Fe         NM    87501
 Office of the Attorney General for the State of New York                                           The Capitol                              2nd Floor                           Albany           NY    12224
 Office of the Attorney General for the State of North Carolina                                     114 W Edenton St                                                             Raleigh          NC    27603
 Office of the Attorney General for the State of North Dakota                                       State Capitol, 600 E Boulevard Ave       Dept. 125                           Bismarck         ND    58505
 Office of the Attorney General for the State of Ohio                                               State Office Tower                       30 E Broad St 14Th Fl               Columbus         OH    43215
 Office of the Attorney General for the State of Oklahoma                                           313 Ne 21St St                                                               Oklahoma City    OK    73105
 Office of the Attorney General for the State of Oregon                                             1162 Court St NE                                                             Salem            OR    97301
 Office of the Attorney General for the State of Pennsylvania                                       Strawberry Square 16Th Fl                                                    Harrisburg       PA    17120
 Office of the Attorney General for the State of Rhode Island                                       150 S Main St                                                                Providence       RI    02903
 Office of the Attorney General for the State of South Carolina                                     Rembert C. Dennis Bldg                   1000 Assembly St Rm 519             Columbia         SC    29201

In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                                               Page 1 of 2


 Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                                                                                            Page 8 of 9
                                                                  Case 23-11161-JKS                Doc 638           Filed 12/21/23       Page 9 of 9
                                                                                                          Exhibit B
                                                                                                   Served via First-Class Mail


                               Name                                          Attention                               Address 1                         Address 2              City       State     Zip      Country
 Office of the Attorney General for the State of South Dakota                                      1302 E Highway 14, Ste 1                                             Pierre           SD    57501
 Office of the Attorney General for the State of Tennessee                                         301 6Th Ave N                                                        Nashville        TN    37243
 Office of the Attorney General for the State of Texas                                             300 W. 15Th St                                                       Austin           TX    78701
 Office of the Attorney General for the State of Utah                                              Utah State Capitol Complex             350 North State St Ste 230    Salt Lake City   UT    84114
 Office of the Attorney General for the State of Vermont                                           109 State St.                                                        Montpelier       VT    05609
 Office of the Attorney General for the State of Virginia                                          202 N. Ninth St.                                                     Richmond         VA    23219
 Office of the Attorney General for the State of Washington                                        1125 Washington St Se                                                Olympia          WA    98501
 Office of the Attorney General for the State of Washington                                        PO Box 40100                                                         Olympia          WA    98504
 Office of the Attorney General for the State of West Virginia                                     State Capitol, 1900 Kanawha Blvd E     Building 1 Rm E-26            Charleston       WV    25305
 Office of the Attorney General for the State of Wisconsin                                         17 West Main Street, Room 114 East P                                 Madison          WI    53702
 Office of the Attorney General for the State of Wyoming                                           Kendrick Building                      2320 Capitol Ave              Cheyenne         WY    82002
                                                                 Attn: Linda Casey & Joseph
 Office of The U.S. Trustee for the District of Delaware         Cudia                             844 N King St #2207                    Lockbox 35                    Wilmington       DE    19801
                                                                 Attn: Kimberly B. Czap, Vice
 Philadelphia Indemnity Insurance Company                        President                         One Bala Plaza, Suite 100                                            Bala Cynwyd      PA    19004
 Philadelphia Indemnity Insurance Company                        Attn: Scott Williams              1201 Demonbreun Street                 Suite 900                     Nashville        TN    37203
 SALESFORCE, INC.                                                C/O BIALSON, BERGEN & SCHWAB      ATTN: LAWRENCE SCHWAB/GAYE HECK                                      MENLO PARL       CA    94025
                                                                 Attn: Andrew Calamari,            New York Regional Office, Brookfield
 Securities And Exchange Commission                              Regional Director                 Place                                  200 Vesey Street, Suite 400   New York         NY    10281-1022
 Securities And Exchange Commission                              Attn: Lara Shalov Mehraban        100 Pearl St                           Suite 20-100                  New York         NY    10004-2616
 Securities And Exchange Commission                              Attn: Secretary of The Treasury   100 F Street, NE                                                     Washington       DC    20549
                                                                 Tiki Labs, Inc. c/o Keller
 Tiki Labs, Inc. dba Audius Inc.                                 Benvenutti Kim LLP                425 Market Street, 26th Floor                                        San Francisco    CA    94105
                                                                 Tiki Labs, Inc. dba Audius Inc.
                                                                 (custodial account owner) -       5940 S Rainbow Blvd. Ste 400
 Tiki Labs, Inc. dba Audius Inc.                                 see attachment                    PMB 43362                                                            Las Vegas        NV    89118
 TrueCoin, LLC                                                                                     330 Primrose Road, Suite 500                                         Burlingame       CA    94010
 TrustToken, Inc.                                                                                  330 Primrose Road, Suite 500                                         Burlingame       CA    94010
 US Attorney’s Office for the District of Delaware                                                 1313 N Market Street                                                 Wilmington       DE    19801




In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                                      Page 2 of 2


 Document Ref: ZCCCX-8PSKV-USUHT-XZU2N                                                                                                                                                                   Page 9 of 9
